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09-2132.101-RSK                                                        March 24, 2010


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


SANDARA K. ZIMNICKI,                          )
                                              )
                Plaintiff,                    )
                                              )
                v.                            )       No. 09 C 2132
                                              )
GENERAL FOAM PLASTICS CORP., and              )
NIXAN INTERNATIONAL, LTD.,                    )
                                              )
                Defendants.                   )


                                MEMORANDUM OPINION

        Before the court is the defendants’ motion to dismiss or, in

the alternative, to join a necessary party.                      For the reasons

explained below we deny the defendants’ motion.

                                     BACKGROUND

        Plaintiff Sandra K. Zimnicki alleges that the defendants,

General      Foam    Plastics    Corporation      (“General   Foam”)     and   Nixan

International Ltd. (“Nixan”), have sold and continue to sell

holiday decorations that infringe her copyrighted “decorative deer”

designs.      Zimnicki created two such designs before entering into a

verbal agreement in February 2004 to license those designs (and any

new     designs)     to   Neo-Neon   International,      Ltd.    (“Neo-Neon”)       in

exchange for a royalty.          (Am. Compl. ¶¶ 11-12.)         Neo-Neon intended

to    use   the     licensed    designs   to manufacture        and   sell   holiday

decorations and decorative lighting products.                    (Id. at ¶ 12.)
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According    to   Zimnicki    the    parties    agreed    that    she    was     an

independent contractor, not an employee, and that her designs were

not “works for hire.”       (Id.)    Between February 2004 and July 2004

Zimnicki created at least three additional decorative-deer designs,

and during that time she alleges that Neo-Neon “had access” to her

works.1     (Id. at ¶¶ 14, 16.)         In July 2004 she terminated her

relationship with the company because it would not confirm the

terms of their verbal agreement in writing.              (Id. at ¶ 15.)          She

alleges that she informed Neo-Neon at that time that “she was

assigning no rights in her designs to Neo-Neon and that she would

retain all copyrights in those designs.”               (Id.)     Approximately

eight months later Zimnicki applied for and received certificates

of registration for each of the five decorative-deer designs. (Id.

at ¶ 17; see also Certificates of Registration, attached as Exs. A-

E to Am. Compl.)        She subsequently learned that Neo-Neon sold

unauthorized copies of her designs, or unauthorized derivative

works based on those designs, to Menard, Inc. for resale.                      (Am.

Compl. ¶ 20.)      After Zimnicki notified Menard that the products

infringed Zimnicki’s registered copyrights, Menard began purchasing

decorative-deer products from defendant General Foam, rather than

Neo-Neon.    (Id. at ¶¶ 21-22.)      General Foam, in turn, purchased at

least some of the infringing products from Neo-Neon for resale to


      1/
          Zimnicki does not indicate whether Neo-Neon manufactured any goods
utilizing her designs during that same period of time, or if she received any
payments from Neo-Neon.
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Menard.    (Id. at ¶ 23.)       It purchased other infringing products

from Nixan, although Zimnicki does not indicate whether General

Foam resold those goods to Menard or other retailers.                 (Id. at ¶

24.) Zimnicki alleges, upon information and belief, that Nixan and

General Foam are corporate affiliates controlled by the same parent

company.    (Id. at ¶ 25.)

      In   2006   Zimnicki   sued    Neo-Neon,    among    other   defendants,

alleging that it had infringed her copyrights.                See Zimnicki v.

Cinmar, 06-CV-4879       (N.D.Ill.    2006).2      Neo-Neon    asserts    as     an

affirmative defense in that lawsuit that Zimnicki’s designs are not

entitled to copyright protection because they are generic.                  (See

Neo-Neon’s Answer and Counterclaims, attached as Ex. B to Pl.’s

Mot. to Dismiss, at 103.)        In a separate counterclaim Neo-Neon has

asked the court to declare that Neo-Neon has not infringed the

copyrights because: (1) Zimnicki fraudulently represented to the

Copyright Office that she was the sole author of the designs,

rendering the registrations invalid; and (2) “Neo-Neon is the true

author and owner of the Deer Designs.”          (Id. at 108-09.)      The basis

for this relief is Neo-Neon’s allegation that the designs arose

from Zimnicki’s collaboration with Neo-Neon’s in-house design team

during the period in 2004 when she was “employed to work at Neo-

Neon’s office in China.”          (Id. at 107-08.)        In light of those


      2/
         According to her attorney, Zimnicki's allegations in this lawsuit arise
from information obtained during discovery in the 2006 case. (Decl. of Barry F.
Irwin ¶¶ 4-5.)
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allegations defendants contend that Neo-Neon is an “indispensable”

party to this litigation under Fed. R. Civ. P. 19.

                                  DISCUSSION

     “Joinder under Rule 19 is a two step inquiry.”               Davis Co. v.

Emerald Casino, Inc., 268 F.3d 477, 481 (7th Cir. 2001).                 “First,

the court must determine whether a party is one that should be

joined if feasible — called, in the old days, a ‘necessary’

party.’”    Thomas v. United States, 189 F.3d 662, 667 (7th Cir.

1999); see also Fed. R. Civ. P. 19(a).          If the court concludes that

the party is “necessary,” but cannot be joined, it must then decide

whether the litigation can proceed in that party’s absence.

Thomas, 189 F.3d at 667; see also Fed. R. Civ. P. 19(b).              “If there

is no way to structure a judgment in the absence of the party that

will protect both the party’s own rights and the rights of the

existing    litigants,     the    unavailable      party    is    regarded       as

‘indispensable’ and the action is subject to dismissal upon a

proper motion under Federal Rule of Civil Procedure 12(b)(7).”

Thomas, 189 F.3d at 667.            Although defendants have moved to

dismiss, they have not even attempted to show that Neo-Neon — a

Chinese company already involved in related litigation in this

district — cannot be joined.        We assume, then, that Neo-Neon can be

joined and that dismissal is not warranted.            It must be joined if:

“(1) in [Neo-Neon’s] absence complete relief cannot be accorded

among those already parties, or (2) [Neo-Neon] claims an interest
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relating to the subject of the action and is so situated that the

disposition of the action in [its] absence may (i) as a practical

matter impair or impede the [its] ability to protect that interest

or (ii) leave any of the persons already parties subject to a

substantial    risk   of   incurring    double,    multiple,     or   otherwise

inconsistent obligations by reason of the claimed interest.”                Fed.

R. Civ. P. 19(a).        Only the second clause is relevant here, as

defendants do not argue that complete relief is unavailable to the

existing parties in Neo-Neon’s absence.

      We agree with Zimnicki that a third party’s “theoretical”

interest in the litigation is insufficient to require joinder under

Rule 19.    See Ladenberger v. Nat’l Tech. Transfer, Inc., No. 99 C

5348, 2000 WL 1349247, *2 (N.D. Ill. Sept. 19, 2000); see also

Ploog v. Homeside Lending, Inc., 209 F.Supp.2d 863, 872-73 (N.D.

Ill. 2002).     But unlike the defendants in Landenberger and Ploog,

who speculated that a third party could claim an interest, Neo-Neon

has actually claimed an interest in the copyrights (if not in this

particular lawsuit).       (See Neo-Neon’s Answer and Counterclaims at

109 (asserting that “Neo-Neon is the true owner and author of the

Deer Designs”).)3      We have discretion under the Copyright Act to


      3/
          The defendant in Landenberger asserted that a third party claimed an
interest in the copyrights at issue in conversations with the defendant.
Landenberger, 2000 WL 1349247, *2.     The court appropriately disregarded that
assertion in the absence of an affidavit substantiating the third-party’s alleged
claim. Id. A counterclaim filed in related litigation is plainly more reliable
evidence of that party’s claim, even if it is not “evidence” in the technical
sense of that term (i.e., admissible at trial). We do not construe Rule 19(a)
to require more. (Cf. Pl.’s Resp. at 7 (arguing that the defendants must provide
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require Neo-Neon’s joinder on that basis.            See 17 U.S.C. § 501(b)

(“The      court   may   require   the   joinder,    and   shall    permit       the

intervention, of any person having or claiming an interest in the

copyright.”).       And defendants have cited several district court

decisions requiring joinder under somewhat analogous circumstances.

See, e.g., Wales Indus. Inc. v. Hasbro Bradley, Inc., 612 F.Supp.

510, 517 (S.D.N.Y. 1985) (overruled on other grounds by Hasbro

Bradley, Inc. v. Sparkle Toys, Inc., 780 F.2d 189 (2d Cir.1985))

(“Absent special circumstances joinder should be required in cases

challenging the validity of the copyright upon which rest the

rights of the person to be joined . . . .”).            The difference here,

however, is that Neo-Neon’s rights are already being adjudicated in

litigation between itself and Zimnicki.4             Joinder in this action

would only entail additional expense, which is likely why Neo-Neon

has not sought to intervene.5        Defendants suggest that it would be

easier for them to obtain discovery from a co-defendant than from

a third party.       (Reply at 6.)       We think defendants overstate the

difficulty of obtaining discovery from Neo-Neon, which is already

a party to litigation in this district.             Cf. Ladenberger, 2000 WL

139247, *2 (Observing that the defendant was free to put on



“evidence” substantiating Neo-Neon’s alleged interest).)

      4/
         Barring further extensions, all discovery will close in that case on
May 24, 2010. No trial date is currently scheduled.

     5/
            Defendants served a copy of their motion to dismiss on Neo-Neon’s
counsel.    (See Certificate of Service, attached to Defs.’ Mot. to Dismiss.)
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evidence that a third party owned the copyright at issue.).

Regardless, defendants’ convenience is not relevant.

        Whether the defendants face a “substantial risk” of incurring

inconsistent obligations is a closer question.                   A party in the

defendants’ position — accused of infringing a copyright in which

more than one party claims an interest — generally has good reason

to be worried about the prospect of inconsistent obligations. See,

e.g., Wales Indus., 612 F.Supp. at 517; see also Ediciones Quiroga,

S.L. v. Fall River Music, Inc., 93 CIV. 3914, 1995 WL 103842, *10

(S.D.N.Y. Mar. 7, 1995).               And at least as to the allegedly

infringing products that General Foam purchased from Nixan, (as

opposed to those that it purchased from Neo-Neon itself), Neo-Neon

could conceivably sue the defendants for infringement as the “true

author and owner” of the designs in question.                  But Neo-Neon also

contends that those same designs are generic.                  Parties may plead

claims and defenses in the alternative, but the fact that Neo-Neon

has     argued    that   the    designs    are   not   entitled     to    copyright

protection is certainly relevant.                We see no indication in the

pleadings        or   otherwise     that    Neo-Neon     intends     to   use       its

counterclaim as a springboard for future litigation against alleged

infringers generally, or against these defendants in particular.

It may prove necessary or desirable to coordinate this litigation

with the proceedings in the 2006 case.                 But we will not require

Neo-Neon to join this lawsuit for the sole purpose of requesting
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declaratory relief that it is already seeking in other litigation

with Zimnicki.

                                  CONCLUSION

     Defendants’ motion to dismiss or in the alternative join Neo-

Neon (35) is denied.



     DATE:        March 24, 2010




     ENTER:       ___________________________________________

                  John F. Grady, United States District Judge
